       Case: 3:06-cr-00141-wmc Document #: 88 Filed: 10/22/08 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT

                   FOR THE WESTERN DISTRICT OF WISCONSIN

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

UNITED STATES OF AMERICA,
                                                              ORDER
                             Plaintiff,
                                                              06-cr-141-jcs
              v.

LISA HARDING,

                             Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

       Defendant Lisa Harding has filed a motion to postpone restitution payments.

Because Judge Shabaz is on an extended medical leave, I am handling the cases assigned to

him, including this one. In support of her motion, defendant argues that it is financially

difficult for her to make restitution payments at this time and requests deferral of the

payments until she is in a half-way house. Defendant’s motion will be DENIED.

       It is within the Bureau of Prisons’ discretion to require inmates to make payments

on their court-ordered obligations. It may be a hardship for defendant to pay restitution,

but it is a hardship for which she is responsible.




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Case: 3:06-cr-00141-wmc Document #: 88 Filed: 10/22/08 Page 2 of 2




                                 ORDER

Defendant Lisa Harding’s motion to postpone restitution payments is DENIED.

Entered this 21st day of October, 2008.

                                 BY THE COURT:
                                 /s/
                                 BARBARA B. CRABB
                                 District Judge




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